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                           UNITED STATES DISTRICT COURT
14
                                 DISTRICT OF ARIZONA
15
16                                              No. 2:21-cv-00514-DJH

17   State of Arizona,
                                                JOINT MOTION TO SET A
                   Plaintiff,                   BRIEFING SCHEDULE
18          v.
19    Janet Yellen, in her official capacity as
      Secretary of the Treasury et al.;
20
                    Defendants.
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       Case 2:21-cv-00514-DJH Document 14 Filed 04/14/21 Page 2 of 3




 1                                      JOINT MOTION
 2          Plaintiff and Defendants (the “Parties”) hereby submit this Joint Notice regarding
 3   agreed upon dates for briefing and argument of the State of Arizona’s Motion for a
 4   Preliminary Injunction (Doc. 11). The Parties move this Court to issue a scheduling order
 5   on these matters. The Parties have met and conferred regarding these issues and have
 6   come to the following joint agreement set forth below:
 7             • The State’s Motion for a Preliminary Injunction by Monday, April 5
 8                 (already filed).
 9             • Amicus Briefs Supporting Plaintiff by Friday, April 23.
10             • Brief in Opposition by Friday, April 30.
11             • Amicus Briefs Supporting Defendants by Monday, May 3.
12             • Reply Brief by Monday, May 10.
13             • The Parties request a hearing on Plaintiff’s Motion for a Preliminary
14                 Injunction at the Court’s earliest availability on any date on or after May
15                 17, 2021. Telephonic/videoconference appearances shall be allowed.
16   A proposed form of order is attached.
17          RESPECTFULLY SUBMITTED this 14th day of April, 2021.
18   MARK BRNOVICH                              BRIAN M. BOYNTON
     ARIZONA ATTORNEY GENERAL                   Acting Assistant Attorney General
19
20   By: /s/ Brunn W. Roysden III               ALEXANDER K. HAAS
       Joseph A. Kanefield (No. 15838)          Director, Federal Programs Branch
21     Brunn W. Roysden III (No. 28698)
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22     Robert J. Makar (No. 33579)              Assistant Director, Federal Programs Branch
         Assistant Attorneys General
23                                              /s/ Stephen Ehrlich
     Attorneys for Plaintiff                    CHARLES E.T. ROBERTS
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28
                                                Attorneys for Defendants


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 1                                 CERTIFICATE OF SERVICE
 2             I hereby certify that on this 14th day of April, 2021, I electronically filed the
 3   foregoing with the Clerk of the Court for the United States District Court for the District
 4   of Arizona using the CM/ECF filing system. Counsel for parties that are registered
 5   CM/ECF users will be served by the CM/ECF system pursuant to the notice of electronic
 6   filing.
 7                                              s/ Brunn W. Roysden III
 8                                              Attorney for the State of Arizona

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